JS 44C/SDNY                                                                                                                                CIVIL COVER SHEET
REV.
05/28/2024                                  The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or
                                            other papers as required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the
                                            United States in September 1974, is required for use of the Clerk of Court for the purpose of initiating the civil docket sheet.



PLAINTIFFS                                                                                                                                                              DEFENDANTS
UMG Recordings, Inc., Capitol Records, LLC, Asylum Records LLC, Atlantic Recording Corporation, Atlantic Records Group LLC, Bad Boy Records LLC, Big Beat Records
Inc., Elektra Entertainment Group Inc., Elektra Entertainment LLC, Fueled By Ramen LLC, Lava Records LLC, Maverick Recording Company, Nonesuch Records Inc., Rhino
Entertainment Company, Rhino Entertainment LLC, Roadrunner Records, Inc., Rykodisc, Inc., Warner Music Inc., Warner Music International Services Limited, Warner        Verizon Communications Inc., Verizon Services Corp., and Cellco Partnership
Music Latina Inc., Warner Music Nashville LLC, Warner Records Inc., Warner Records LLC, Warner Records/QRI Venture, Inc., Warner Records/Sire Ventures LLC, Arista
Music, Arista Records, LLC, LaFace Records, LLC, Sony Music Entertainment, Sony Music Entertainment US Latin LLC, Ultra Records, LLC, Volcano Entertainment III, LLC,
Zomba Recording LLC, and ABKCO Music & Records, Inc.
                                                                                                                                                                        (d/b/a Verizon Wireless)
ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER                                                                                                                     ATTORNEYS (IF KNOWN)
Oppenheim + Zebrak, LLP                                                                                                                                                 Josh Branson - Kellogg, Hansen, Todd, Figel & Frederick, P.L.L
4530 Wisconsin Ave NW, 5th Floor Washington D.C. 20016 (202)-480-2999                                                                                                   1615 M Street NW, Suite 400 Washington, DC 20036

CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE)
                                              (DO NOT CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY)

17 U.S.C. § 101 et seq., 17 U.S.C. § 1401 - Copyright Infringement, Infringement of Protected Sound Recordings

Has this action, case, or proceeding, or one essentially the same, been previously filed in SDNY at any time? No ✔ Yes                                                                                                           ________________________
                                                                                                                                                                                                                                    (If yes, Judge Previously Assigned)

If yes, was this case Vol.                                     Invol.                 Dismissed. No                                Yes                   If yes, give date _______________________ & Case No. ______________________

IS THIS AN INTERNATIONAL ARBITRATION CASE?                                                           No ✖                         Yes

(PLACE AN [x] IN ONE BOX ONLY)                                                                                                              NATURE OF SUIT
                                                         TORTS                                                                                                                                          ACTIONS UNDER STATUTES



CONTRACT                                                 PERSONAL INJURY                                        PERSONAL INJURY            FORFEITURE/PENALTY                                           BANKRUPTCY                      OTHER STATUTES
                                                                                                                [ ] 367 HEALTHCARE/
                                                                                                                PHARMACEUTICAL PERSONAL [ ] 625 DRUG RELATED                                                                            [ ] 375 FALSE CLAIMS
[ ] 110     INSURANCE                                    [ ] 310 AIRPLANE                                                                                                                               [ ] 422 APPEAL
[ ] 120     MARINE                                       [ ] 315 AIRPLANE PRODUCT                               INJURY/PRODUCT LIABILITY                                                                         28 USC 158             [ ] 376 QUI TAM
                                                                                                                                            SEIZURE OF PROPERTY
[ ] 130     MILLER ACT                                            LIABILITY                                     [ ] 365 PERSONAL INJURY           21 USC 881                                            [ ] 423 WITHDRAWAL              [ ] 400 STATE
[ ] 140     NEGOTIABLE                                   [ ] 320 ASSAULT, LIBEL &                                        PRODUCT LIABILITY                                                                       28 USC 157                      REAPPORTIONMENT
                                                                                                                                           [ ] 690 OTHER
            INSTRUMENT                                            SLANDER                                       [ ] 368 ASBESTOS PERSONAL                                                                                               [ ] 410 ANTITRUST
[ ] 150     RECOVERY OF                                  [ ] 330 FEDERAL                                                 INJURY PRODUCT                                                                                                 [ ] 430 BANKS & BANKING
            OVERPAYMENT &                                         EMPLOYERS'                                             LIABILITY          PROPERTY RIGHTS                                                                             [ ] 450 COMMERCE
            ENFORCEMENT                                           LIABILITY                                                                                                                                                             [ ] 460 DEPORTATION
            OF JUDGMENT                                  [ ] 340 MARINE                                         PERSONAL PROPERTY                                       [ ] 820 COPYRIGHTS
                                                                                                                                                                        ✖                      [ ] 880 DEFEND TRADE SECRETS ACT         [ ] 470 RACKETEER INFLU-
[ ] 151     MEDICARE ACT                                 [ ] 345 MARINE PRODUCT                                                                                         [ ] 830 PATENT                                                           ENCED & CORRUPT
[ ] 152     RECOVERY OF                                           LIABILITY                                     [ ] 370 OTHER FRAUD                                                                                                              ORGANIZATION ACT
                                                                                                                                                                        [ ] 835 PATENT-ABBREVIATED NEW DRUG APPLICATION
            DEFAULTED                                    [ ] 350 MOTOR VEHICLE                                  [ ] 371 TRUTH IN LENDING                                                                                                         (RICO)
            STUDENT LOANS                                [ ] 355 MOTOR VEHICLE                                                                                          [ ] 840 TRADEMARK                                               [ ] 480 CONSUMER CREDIT
            (EXCL VETERANS)                                       PRODUCT LIABILITY                                                                                                                     SOCIAL SECURITY
[ ] 153     RECOVERY OF                                                                                                                                                                                                                 [ ] 485 TELEPHONE CONSUMER
                                                         [ ] 360 OTHER PERSONAL
            OVERPAYMENT                                           INJURY                                        [ ] 380 OTHER PERSONAL                                  LABOR                           [ ] 861 HIA (1395ff)                    PROTECTION ACT
            OF VETERAN'S                                  [ ] 362 PERSONAL INJURY -                                      PROPERTY DAMAGE                                                                [ ] 862 BLACK LUNG (923)
            BENEFITS                                              MED MALPRACTICE                               [ ] 385 PROPERTY DAMAGE                                 [ ] 710 FAIR LABOR              [ ] 863 DIWC/DIWW (405(g))      [ ] 490 CABLE/SATELLITE TV
[ ] 160     STOCKHOLDERS                                                                                                 PRODUCT LIABILITY                                        STANDARDS ACT         [ ] 864 SSID TITLE XVI          [ ] 850 SECURITIES/
            SUITS                                                                                                                                                       [ ] 720 LABOR/MGMT              [ ] 865 RSI (405(g))                     COMMODITIES/
[ ] 190     OTHER                                                                                               PRISONER PETITIONS                                                RELATIONS                                                      EXCHANGE
            CONTRACT                                                                                            [ ] 463 ALIEN DETAINEE                                  [ ] 740 RAILWAY LABOR ACT                                       [ ] 890 OTHER STATUTORY
[ ] 195     CONTRACT                                                                                            [ ] 510 MOTIONS TO                                      [ ] 751 FAMILY MEDICAL          FEDERAL TAX SUITS
                                                                                                                                                                                                                                                 ACTIONS
            PRODUCT                                      ACTIONS UNDER STATUTES                                          VACATE SENTENCE                                LEAVE ACT (FMLA)
            LIABILITY                                                                                                    28 USC 2255                                                                 [ ] 870 TAXES (U.S. Plaintiff or   [ ] 891 AGRICULTURAL ACTS
[ ] 196 FRANCHISE                                        CIVIL RIGHTS                                           [ ] 530 HABEAS CORPUS                                   [ ] 790 OTHER LABOR                   Defendant)                [ ] 893 ENVIRONMENTAL
                                                                                                                [ ] 535 DEATH PENALTY                                            LITIGATION          [ ] 871 IRS-THIRD PARTY                     MATTERS
                                                                                                                [ ] 540 MANDAMUS & OTHER                                [ ] 791 EMPL RET INC                  26 USC 7609               [ ] 895 FREEDOM OF
                                                         [ ] 440 OTHER CIVIL RIGHTS
                                                                                                                                                                                 SECURITY ACT (ERISA)                                            INFORMATION ACT
                                                                 (Non-Prisoner)
REAL PROPERTY                                                                                                                                                                                                                           [ ] 896 ARBITRATION
                                                         [ ] 441 VOTING                                          IMMIGRATION                                                                                                            [ ] 899 ADMINISTRATIVE
[ ] 210              LAND                                [ ] 442 EMPLOYMENT            PRISONER CIVIL RIGHTS
                     CONDEMNATION                        [ ] 443 HOUSING/                                        [ ] 462 NATURALIZATION                                                                                                  PROCEDURE ACT/REVIEW OR
[ ] 220              FORECLOSURE                                   ACCOMMODATIONS [ ] 550 CIVIL RIGHTS                    APPLICATION                                                                                                   APPEAL OF AGENCY DECISION
[ ] 230              RENT LEASE &                        [ ] 445 AMERICANS WITH        [ ] 555 PRISON CONDITION  [ ] 465 OTHER IMMIGRATION                                                                                              [ ] 950 CONSTITUTIONALITY OF
                     EJECTMENT                                     DISABILITIES -      [ ] 560 CIVIL DETAINEE             ACTIONS
                                                                   EMPLOYMENT                                                                                                                                                           STATE STATUTES
[ ] 240              TORTS TO LAND                                                        CONDITIONS OF CONFINEMENT
[ ] 245              TORT PRODUCT                         [ ] 446 AMERICANS WITH
                     LIABILITY                                     DISABILITIES -OTHER
[ ] 290              ALL OTHER                             [ ] 448 EDUCATION
                     REAL PROPERTY




             Check if demanded in complaint:
                                                                                                                                   DO YOU CLAIM THIS CASE IS RELATED TO A CIVIL CASE NOW PENDING IN S.D.N.Y.
             CHECK IF THIS IS A CLASS ACTION                                                                                       AS DEFINED BY LOCAL RULE FOR DIVISION OF BUSINESS 13?
             UNDER F.R.C.P. 23                                                                                                     IF SO, STATE:

DEMAND $______________ OTHER ______________ JUDGE _________________________________ DOCKET NUMBER_________________

Check YES only if demanded in complaint
JURY DEMAND: ✖ YES                                                     NO                                                          NOTE: You must also submit at the time of filing the Statement of Relatedness form (Form IH-32).
(PLACE AN x IN ONE BOX ONLY)                                                  ORIGIN
✖ 1 Original            2 Removed from                3 Remanded          4 Reinstated or          5 Transferred from       6 Multidistrict
                                                                                                                              Litigation
                                                                                                                                                        7 Appeal to District
                                                                                                                                                          Judge from
    Proceeding            State Court                   from                Reopened                   (Specify District)
                                                                                                                               (Transferred)               Magistrate Judge
                                                        Appellate
                         a. all parties represented     Court
                                                                                                                            8 Multidistrict Litigation (Direct File)
                         b. At least one party
                             is pro se.
(PLACE AN x IN ONE BOX ONLY)                                   BASIS OF JURISDICTION                                                 IF DIVERSITY, INDICATE
   1 U.S. PLAINTIFF         2 U.S. DEFENDANT              3 FEDERAL QUESTION    4 DIVERSITY                                          CITIZENSHIP BELOW.
                                                             (U.S. NOT A PARTY)

                              CITIZENSHIP OF PRINCIPAL PARTIES (FOR DIVERSITY CASES ONLY)
      (Place an [X] in one box for Plaintiff and one box for Defendant)

                             PTF    DEF                                                     PTF DEF                                                          PTF       DEF
CITIZEN OF THIS STATE        [ ]1   [ ]1      CITIZEN OR SUBJECT OF A                       [ ]3[ ]3         INCORPORATED and PRINCIPAL PLACE                [ ]5      [ ]5
                                               FOREIGN COUNTRY                                               OF BUSINESS IN ANOTHER STATE

CITIZEN OF ANOTHER STATE     [ ]2   [ ]2      INCORPORATED or PRINCIPAL PLACE               [ ]4[ ]4         FOREIGN NATION                                  [ ]6      [ ]6
                                               OF BUSINESS IN THIS STATE

PLAINTIFF(S) ADDRESS(ES) AND COUNTY(IES)




DEFENDANT(S) ADDRESS(ES) AND COUNTY(IES)

Defendant Verizon Communications Inc., 1095 Avenue of the Americas, New York, NY 10036
Defendant Verizon Services Corp., 1095 Avenue of the Americas, New York, NY 10036
Defendant Cellco Partnership (d/b/a Verizon Wireless), 1095 Avenue of the Americas, New York, NY
10036
DEFENDANT(S) ADDRESS UNKNOWN
REPRESENTATION IS HEREBY MADE THAT, AT THIS TIME, I HAVE BEEN UNABLE, WITH REASONABLE DILIGENCE, TO ASCERTAIN
THE RESIDENCE ADDRESSES OF THE FOLLOWING DEFENDANTS:




                                                               COURTHOUSE ASSIGNMENT
  I have reviewed Rules 18(a) and 20(a) of the Rules for the Division of Business Among District Judges, Southern District of New York, and I
                     hereby certify that this case should be assigned to the courthouse indicated below pursuant thereto.

Check one:   THIS ACTION SHOULD BE ASSIGNED TO:                                     WHITE PLAINS                             MANHATTAN

DATE 7/12/24            /s/ Matthew J. Oppenheim
                                                                                                   ADMITTED TO PRACTICE IN THIS DISTRICT
                             SIGNATURE OF ATTORNEY OF RECORD                                       [ ] NO
                                                                                                   [✖] YES (DATE ADMITTED Mo. 4_______ Yr. _______)
                                                                                                                                           2005
RECEIPT #                                                                                          Attorney Bar Code # 4314605


Magistrate Judge is to be designated by the Clerk of the Court.

Magistrate Judge _________________________________________________________ is so Designated.

Daniel Ortiz, Acting Clerk of Court by _____________ Deputy Clerk, DATED _____________________.

UNITED STATES DISTRICT COURT (NEW YORK SOUTHERN)


                                           Clear Form                         Save                             Print
